       Case
        Case1:15-cv-00701-JWF
              1:15-cv-00701-FPG Document
                                 Document60-5 Filed10/23/15
                                          9 Filed   08/30/18 Page
                                                              Page1 1ofof1313




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 DOUGLAS J. HORN and CINDY HARP-HORN,
                                                         Civil Action No. 15-cv-701-G
                              Plaintiffs,

        -against-

 MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
 AND EDIBLES, RED DICE HOLDINGS, LLC,                  ANSWER AND AFFIRMATIVE
 and DIXIE BOTANICALS,                                        DEFENSES

                              Defendants.



       Defendant Dixie Elixirs (“Dixie”), by their respective undersigned counsel, state as

follows, upon information and belief:

                               PRELIMINARY STATEMENT

1.     Defendant denies all of the allegations contained within Paragraph 1 of the Plaintiffs’

Complaint.

                              JURISDICTION AND PARTIES

2.     Defendant denies all of the allegations contained within Paragraph 2 of the Plaintiffs’

Complaint.

3.     Defendant denies all of the allegations contained within Paragraph 3 of the Plaintiffs’

Complaint.

4.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 4 of the Complaint.

5.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 5 of the Complaint.




       {01737937 / 1}                          1
       Case
        Case1:15-cv-00701-JWF
              1:15-cv-00701-FPG Document
                                 Document60-5 Filed10/23/15
                                          9 Filed   08/30/18 Page
                                                              Page2 2ofof1313




6.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 6 of the Complaint.

7.     Defendant denies the allegations contained within Paragraph 7 of the Plaintiffs’ Complaint,

except admits that Defendant is a Colorado Limited Liability Company with a principal place of

business located at 4990 Oakland Street, Denver, CO 80209, United States.

8.     Defendant denies all of the allegations contained within Paragraph 10 of the Plaintiffs’

Complaint.

9.     Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 9 of the Complaint.

10.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 10 of the Complaint.

11.    Defendant denies all of the allegations contained within Paragraph 11 of the Plaintiffs’

Complaint.

                          SPECIFIC FACTS AS TO PLAINTIFFS

12.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 12 of the Complaint.

13.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 13 of the Complaint.

14.    Defendant denies all of the allegations contained within Paragraph 14 of the Plaintiffs’

Complaint.

15.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 15 of the Complaint.




       {01737937 / 1}                           2
       Case
        Case1:15-cv-00701-JWF
              1:15-cv-00701-FPG Document
                                 Document60-5 Filed10/23/15
                                          9 Filed   08/30/18 Page
                                                              Page3 3ofof1313




16.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 16 of the Complaint.

17.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 17 of the Complaint.

18.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 18 of the Complaint.

19.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 19 of the Complaint.

20.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 20 of the Complaint.

21.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 21 of the Complaint.

      GENERAL FACTS AND ALLEGATIONS AS TO ALL CAUSES OF ACTION

22.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 22 of the Complaint.

23.    Defendant denies all of the allegations contained within Paragraph 23 of the Plaintiffs’

Complaint.

24.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 24 of the Complaint.

25.    Defendant denies all of the allegations contained within Paragraph 25 of the Plaintiffs’

Complaint.

26.    Defendant denies all of the allegations contained within Paragraph 26 of the Plaintiffs’

Complaint.




       {01737937 / 1}                           3
        Case
         Case1:15-cv-00701-JWF
               1:15-cv-00701-FPG Document
                                  Document60-5 Filed10/23/15
                                           9 Filed   08/30/18 Page
                                                               Page4 4ofof1313




27.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 27 of the Complaint.

28.    Defendant denies all of the allegations contained within Paragraph 28 of the Plaintiffs’

Complaint.

29.    Defendant denies all of the allegations contained within Paragraph 29 of the Plaintiffs’

Complaint.

30.    Defendant denies all of the allegations contained within Paragraph 30 of the Plaintiffs’

Complaint.

31.    Defendant denies all of the allegations contained within Paragraph 31 of the Plaintiffs’

Complaint.

32.    Defendant denies all of the allegations contained within Paragraph 32 of the Plaintiffs’

Complaint.

                                            COUNT I

33.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

34.    Defendant denies all of the allegations contained within Paragraph 34 of the Plaintiffs’

Complaint.

35.    Defendant denies all of the allegations contained within Paragraph 35 of the Plaintiffs’

Complaint.

36.    Defendant denies all of the allegations contained within Paragraph 36 of the Plaintiffs’

Complaint.




       {01737937 / 1}                            4
        Case
         Case1:15-cv-00701-JWF
               1:15-cv-00701-FPG Document
                                  Document60-5 Filed10/23/15
                                           9 Filed   08/30/18 Page
                                                               Page5 5ofof1313




37.    Defendant denies all of the allegations contained within Paragraph 37 of the Plaintiffs’

Complaint.

38.    Defendant denies all of the allegations contained within Paragraph 38 of the Plaintiffs’

Complaint.

39.    Defendant denies all of the allegations contained within Paragraph 39 of the Plaintiffs’

Complaint.

40.    Defendant denies all of the allegations contained within Paragraph 40 of the Plaintiffs’

Complaint.

41.    Defendant denies all of the allegations contained within Paragraph 41 of the Plaintiffs’

Complaint.

                                            COUNT II

42.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

43.    Defendant denies all of the allegations contained within Paragraph 43 of the Plaintiffs’

Complaint.

44.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 44 of the Complaint.

45.    Defendant denies all of the allegations contained within Paragraph 45 of the Plaintiffs’

Complaint.

46.    Defendant denies all of the allegations contained within Paragraph 46 of the Plaintiffs’

Complaint.




       {01737937 / 1}                            5
        Case
         Case1:15-cv-00701-JWF
               1:15-cv-00701-FPG Document
                                  Document60-5 Filed10/23/15
                                           9 Filed   08/30/18 Page
                                                               Page6 6ofof1313




47.    Defendant denies all of the allegations contained within Paragraph 47 of the Plaintiffs’

Complaint.

                                           COUNT III

48.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

49.    Paragraph 49 of the Complaint makes no allegations to which a response is required. To

the extent that allegations are presented in Paragraph 49, Defendant denies them in their entirety.

50.    Defendant denies all of the allegations contained within Paragraph 50 of the Plaintiffs’

Complaint.

51.    Defendant denies all of the allegations contained within Paragraph 51 of the Plaintiffs’

Complaint.

52.    Defendant denies all of the allegations contained within Paragraph 52 of the Plaintiffs’

Complaint.

53.    Defendant denies all of the allegations contained within Paragraph 53 of the Plaintiffs’

Complaint.

54.    Defendant denies all of the allegations contained within Paragraph 54 of the Plaintiffs’

Complaint.

55.    Defendant denies all of the allegations contained within Paragraph 55 of the Plaintiffs’

Complaint.

                                           COUNT IV




       {01737937 / 1}                            6
        Case
         Case1:15-cv-00701-JWF
               1:15-cv-00701-FPG Document
                                  Document60-5 Filed10/23/15
                                           9 Filed   08/30/18 Page
                                                               Page7 7ofof1313




56.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

57.    Defendant denies all of the allegations contained within Paragraph 57 of the Plaintiffs’

Complaint.

58.    Defendant is without knowledge or information sufficient to form a belief as to the

allegations in Paragraph 58 of the Complaint.

59.    Defendant denies all of the allegations contained within Paragraph 59 of the Plaintiffs’

Complaint.

                                            COUNT V

60.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

61.    Defendant denies all of the allegations contained within Paragraph 61 of the Plaintiffs’

Complaint.

62.    Defendant denies all of the allegations contained within Paragraph 62 of the Plaintiffs’

Complaint.

63.    Defendant denies all of the allegations contained within Paragraph 63 of the Plaintiffs’

Complaint.

64.    Defendant denies all of the allegations contained within Paragraph 64 of the Plaintiffs’

Complaint.

                                           COUNT VI




       {01737937 / 1}                            7
        Case
         Case1:15-cv-00701-JWF
               1:15-cv-00701-FPG Document
                                  Document60-5 Filed10/23/15
                                           9 Filed   08/30/18 Page
                                                               Page8 8ofof1313




65.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

66.    Defendant denies all of the allegations contained within Paragraph 66 of the Plaintiffs’

Complaint.

67.    Defendant denies all of the allegations contained within Paragraph 67 of the Plaintiffs’

Complaint.

68.    Defendant denies all of the allegations contained within Paragraph 68 of the Plaintiffs’

Complaint.

69.    Defendant denies all of the allegations contained within Paragraph 69 of the Plaintiffs’

Complaint.

70.    Defendant denies all of the allegations contained within Paragraph 70 of the Plaintiffs’

Complaint.

                                           COUNT VII

71.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

72.    Paragraph 72 of the Complaint makes no allegations to which a response is required. To

the extent that allegations are presented in Paragraph 72, Defendant denies them in their entirety.

73.    Defendant denies all of the allegations contained within Paragraph 73 of the Plaintiffs’

Complaint.

74.    Defendant denies all of the allegations contained within Paragraph 74 of the Plaintiffs’

Complaint.




       {01737937 / 1}                            8
        Case
         Case1:15-cv-00701-JWF
               1:15-cv-00701-FPG Document
                                  Document60-5 Filed10/23/15
                                           9 Filed   08/30/18 Page
                                                               Page9 9ofof1313




75.    Defendant denies all of the allegations contained within Paragraph 75 of the Plaintiffs’

Complaint.

                                          COUNT VIII

76.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

77.    Defendant denies all of the allegations contained within Paragraph 77 of the Plaintiffs’

Complaint.

78.    Defendant denies all of the allegations contained within Paragraph 78 of the Plaintiffs’

Complaint.

79.    Defendant denies all of the allegations contained within Paragraph 79 of the Plaintiffs’

Complaint.

80.    Defendant denies all of the allegations contained within Paragraph 80 of the Plaintiffs’

Complaint.

81.    Defendant denies all of the allegations contained within Paragraph 81 of the Plaintiffs’

Complaint.

                                           COUNT IX

82.    Defendant repeats and realleges each and every allegation, response, denial and denial of

information and knowledge as set forth in its Answer to the Plaintiffs’ Complaint contained in the

prior Paragraphs of this Answer as if heretofore set out at length.

83.    Defendant denies all of the allegations contained within Paragraph 83 of the Plaintiffs’

Complaint.




       {01737937 / 1}                            9
       Case
        Case1:15-cv-00701-JWF
              1:15-cv-00701-FPG Document
                                 Document60-5 Filed10/23/15
                                          9 Filed   08/30/18 Page
                                                              Page1010ofof1313




84.    Defendant denies all of the allegations contained within Paragraph 84 of the Plaintiffs’

Complaint.

85.    Defendant denies all of the allegations contained within Paragraph 85 of the Plaintiffs’

Complaint.

86.    Defendant denies all of the allegations contained within Paragraph 86 of the Plaintiffs’

Complaint.

87.    Defendant denies all of the allegations contained within Paragraph 87 of the Plaintiffs’

Complaint.

                                  AFFIRMATIVE DEFENSES

                             As and for a First Affirmative Defense:

88.    Plaintiff failed to initiate suit within the applicable statute of limitations period.

                           As and for a Second Affirmative Defense:

89.    This court lacks personal jurisdiction over answering Defendant.

                            As and for a Third Affirmative Defense:

90.    This court lacks subject matter jurisdiction over this dispute.

                           As and for a Fourth Affirmative Defense:

91.    The Complaint fails to state a claim against answering Defendant on which relief can be

granted.

                            As and for a Fifth Affirmative Defense:

92.    Plaintiff failed to mitigate the damages alleged in the Complaint, even though Plaintiff had

the opportunity and means of doing so. In asserting this affirmative defense, Defendant does not

admit liability for damages due to the Plaintiff’s injury alleged in the Complaint, nor does

Defendant admit that such damages exist.




       {01737937 / 1}                             10
       Case
        Case1:15-cv-00701-JWF
              1:15-cv-00701-FPG Document
                                 Document60-5 Filed10/23/15
                                          9 Filed   08/30/18 Page
                                                              Page1111ofof1313




                            As and for a Sixth Affirmative Defense:

93.    Plaintiff’s culpable conduct contributed to the alleged damages, which are denied, by

knowing and intentional assumption of the risks inherent in the activities described in the

Complaint, and as such Plaintiff is barred from recovery in this action.

                          As and for a Seventh Affirmative Defense:

94.    Any injuries that may have been sustained by Plaintiff, as alleged in its Complaint,

occurred as a direct result of Plaintiff’s own negligent conduct, and not by any conduct of

answering Defendant, and as such Plaintiff is barred from recovery in this action.

                           As and for an Eighth Affirmative Defense

95.    Any damages sustained by Plaintiff, as alleged in the Complaint, were proximately,

directly, and solely caused by the negligent acts of third persons over whom answering

Defendant had and have no direction or control.

                            As and for a Ninth Affirmative Defense

96.    Any contract in this matter is void because it was devised to achieve a purpose that is

illegal under statute or common law.

                           As and for an Tenth Affirmative Defense

97.    Each cause of action in the Complaint is barred to the extent that Plaintiff consented to

any of the alleged activity or conduct.

                          As and for an Eleventh Affirmative Defense

98.    Plaintiff’s injuries do not arise out of any of the predicate acts that may give rise to

liability under the Racketeer Influenced and Corrupt Organizations Act as defined by 18 U.S.C.

§1961(1), and Plaintiff is therefore without standing.




       {01737937 / 1}                            11
       Case
        Case1:15-cv-00701-JWF
              1:15-cv-00701-FPG Document
                                 Document60-5 Filed10/23/15
                                          9 Filed   08/30/18 Page
                                                              Page1212ofof1313




                           As and for a Twelfth Affirmative Defense

99.    Plaintiff’s Complaint contains injuries that are speculative and therefore not actionable

under the Racketeer Influenced and Corrupt Organizations Act.

                         As and for a Thirteenth Affirmative Defense

100.   Any alleged conduct on the part of answering Defendant was undertaken in good faith for

legitimate business purposes.

                         As and for a Fourteenth Affirmative Defense

101.   Plaintiff’s recovery is limited or barred by express or implied warranties.

                          As and for a Fifteenth Affirmative Defense

102.   Plaintiff and answering Defendant were not parties to the contract for the purchase of the

product at issue and therefore had no contractual relationship.

                          As and for a Sixteenth Affirmative Defense

103.   Answering Defendant performed all contractual obligations other than those which were

prevented or excused, if any, and therefore did not breach the agreement.

                         As and for a Seventeenth Affirmative Defense

104.   Any written agreement between the parties was intended to be the full agreement

between the parties, and the Plaintiff cannot present any evidence not in writing to establish or

alter the terms of the agreement.

WHEREFORE, Defendants respectfully demand judgment denying all relief sought by Plaintiff

and dismissing the Complaint in its entirety, awarding Defendant costs, disbursements, and

reasonable attorney’s fees incurred in this action, and granting such other and further relief as the

Court deems just and proper.




       {01737937 / 1}                            12
      Case
       Case1:15-cv-00701-JWF
             1:15-cv-00701-FPG Document
                                Document60-5 Filed10/23/15
                                         9 Filed   08/30/18 Page
                                                             Page1313ofof1313




Dated: New York, New York
October 23, 2015
                                             Respectfully submitted,
                                             MESSNER REEVES LLP


                                      By:    ___/s/___________________________
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                                             Attorneys for Defendant Dixie Elixirs LLC
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                                             New York, NY 10022
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      {01737937 / 1}                    13
